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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

CAROLYN BRUMLEY * CIVIL ACTION
*

VERSUS * SECTION “ “
*

WAL-MART STORES, INC. AND * MAGISTRATE
*

WAL-MART LOUISIANA, INC.

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NOTICE OF REMOVAL

TO: The Honorable Judges
of the United States District Court
for the Eastern District of Louisiana

Defendants, Wal-Mart Stores, Inc. and Wal-Mart Louisiana, LLC, file this Notice of
Removal pursuant to 28 U.S.C. §§ 1332 and 1441, and hereby remove this matter from
the 29" Judicial District Court for the Parish of St. Charles, State of Louisiana, to the
docket of this Honorable Court on the grounds set forth below:

1. On April 1, 2010, Carolyn Brumley filed this lawsuit against Wal-Mart Stores,
Inc. and Wal-Mart Louisiana, LLC, in the 29" Judicial District Court for the Parish of St.
Charles, State of Louisiana, bearing Case No. 71,162, Division “B”, and entitled Carolyn
Brumley v. Wal-Mart Stores, Inc. and Wal-Mart Louisiana, Inc., (See Plaintiff's Petition
for Damages, attached hereto and marked for identification as Exhibit “A”).

2. Wal-Mart was served through its agent for service of process, CT

Corporation, with a copy of the Citation and Petition on April 12, 2010. (See CT
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Corporation Service of Process Transmittal Notice attached hereto and marked for
identification as Exhibit “B”.)

3. The suit seeks damages from Wal-Mart for damages allegedly sustained by
the plaintiff as a result of an incident that occurred at the Wal-Mart Supercenter located in
Boutte, Louisiana, on July 6, 2009.

4, Plaintiff alleges in Paragraph 5 of the Petition that as a result of the
aforementioned accident she has sustained severe personal injuries to her hip, chest and
other areas of her body. In Paragraph 6, plaintiff avers that as a result of the incident, she
proceeded to St. Charles Parish Hospital where she was forced to undergo medical
treatment, for her hip, chest and ultimately had to have surgery to her ankle. In Paragraph
8 plaintiff avers that she has separate special damages in the form of medical expenses as
a result of the accident and will continue to incur medical expenses as a result of the
accident. The Petition fails to provide a general allegation that the claim exceeds or is less
then the amount necessary to provide for the lack of jurisdiction of Federal Court due to
insufficiency of damages. La.C.C.Art. 893.

I. REMOVAL _IS PROPER BECAUSE THIS COURT HAS SUBJECT
MATTER JURISDICTION PURSUANT TO 28 U.S.C, § 1332,

§. 28 U.S.C. § 1332 provides federal district courts with concurrent original
jurisdiction in cases “where the matter in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, and is between - (1) citizens of different States.”
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A. THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.00.

6. The Fifth Circuit has explained that for purposes of establishing removal
jurisdiction, a defendant may demonstrate that the amount in controversy exceeds
$75,000.00, “in either of two ways: (1) by demonstrating that it is ‘facially apparent’ from
the petition that the claim likely exceeds $75,000.00 or (2) ‘by setting forth the facts in
controversy-preferably in the removal petition, but sometimes by affidavit-that support a
finding of the requisite amount.” Grant vy. Chevron Phillips Chemical Co., 309 F.3d 864,
868 (5th Cir. 2002) (emphasis in original) (quoting Allen v. R & H Oil & Gas Co., 63
F.3d 1326, 1335 (Sth Cir.1995)).

7. Plaintiff has alleged injuries and damages that, if true, which defendants
vehemently deny, place an amount in controversy which exceeds the sum or value of
$75,000.00, exclusive of interest and costs. Plaintiff's Petition for Damages does not
offer a binding stipulation that plaintiff will not seek to enforce any judgment that may be
awarded in excess of $75,000.00, as would be required pursuant to Davis v. State Farm,
No. 06-560, slip op.

8. While Wal-Mart admits no liability, nor any element of damages, Wal-Mart
has met its burden of showing that the amount in controversy is in excess of SEVENTY-
FIVE THOUSAND AND NO/100 ($75,000.00) DOLLARS, exclusive of interest and

costs.

B. COMPLETE DIVERSITY

9. Wal-Mart Stores, Inc. is a Delaware Corporation with its principal place of
business in Bentonville, Arkansas. Wal-Mart Louisiana, LLC is a Delaware limited

liability company with its principal place of business in Bentonville, Arkansas. Sole
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Member is Wal-Mart Stores East, LP. Wal-Mart Stores East, LP is a Delaware limited
partnership with its principal place of business in Bentonville, Arkansas. Two Partners
WSE Management, LLC (GP) and WSE Investments, LLC (LP). WSE Management,
LLC (GP) WSE Investments, LLC (LP) are Delaware limited liability companies with
their principal place of business in Bentonville, Arkansas. Sole member is Wal-Mart
Stores East, Inc. Wal-Mart Stores East, Inc. is an Arkansas Corporation with its principal
place of business in Bentonville, Arkansas, All shares of stock are owned by Wal-Mart
Stores, Inc.

10, Plaintiff is a resident and domiciled in the Parish of St. Charles, State of
Louisiana,

11. Accordingly, there is complete diversity of citizenship between the
plaintiff and the named defendants.

12. This is a civil action over which the United States District Court for the
Eastern District of Louisiana has concurrent original jurisdiction under the provisions of
28 U.S.C. § 1332, et seg., as the amount in controversy, evidenced by the Petition for
Damages, exceeds SEVENTY-FIVE THOUSAND AND NO/100 ($75,000.00)
DOLLARS, exclusive of interest and costs, and complete diversity exists between all
adverse parties.

Il. WAL-MART HAS SATISFIED THE PROCEDURAL REQUIREMENTS
FOR REMOVAL.

13. Wal-Mart was served with the Petition for Damages through its agent for

service of process, CT Corporation Systems, on April 12, 2010.
14. This Notice of Removal is being filed within thirty (30) days after first

receipt by Wal-Mart of a copy of the initial pleadings setting forth the claim of relief
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upon which the action is based, it is therefore timely under 28 U.S.C. § 1446(b).

15. Jurisdiction is founded in the existence of diversity jurisdiction under 28
U.S.C. § 1332, which grants federal courts concurrent original jurisdiction over claims
where the matter in controversy exceeds the sum or value of SEVENTY-FIVE
THOUSAND AND NO/100 ($75,000.00) DOLLARS, exclusive of interest and costs,
and is between citizens of different States.

16. The 29" Judicial District Court for the Parish of St. Charles, State of
Louisiana, is located within the Eastern District of Louisiana pursuant to 28 U.S.C. §
98(a). Therefore, venue is proper in accordance with 28 U.S.C. § 1441(a) because it is
the “district and division embracing the place where such action is pending.”

17. No previous application has been made by Wal-Mart in this case for the
relief requested herein.

18. Pursuant to 28 U.S.C. § 1446(a), a copy of the Petition is attached hereto
as Exhibit A. Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being
served upon counsel for Carolyn Brumley, and a copy is being filed with the Clerk of
Court for the 29" Judicial District Court for the Parish of St. Charles, State of Louisiana.

19. Petitioners, Wal-Mart Stores, Inc. and Wal-Mart Louisiana, LLC, desire
and are entitled to trial by jury of all issues herein

WHEREFORE, defendants, Wal-Mart Stores, Inc. and Wal-Mart Louisiana, LLC,
hereby remove this action from the 29" Judicial District Court for the Parish of St.
Charles, State of Louisiana, to the docket of the United States District Court for the

Eastern District of Louisiana.
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Respectfully submitted,

sfROY C. BEARD
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Wal-Mart Louisiana, LLC

CERTIFICATE OF SERVICE
I hereby certify that on April 28, 2010, a copy of the foregoing pleading was filed
electronically with the Clerk of Court using the CM/ECF system. Notice of this filing

will be sent to all counsel of record by operation of the court’s electronic filing system.

sfROY C. BEARD
